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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

Flip Clip Technology, LLC                       )
                                                )
v.                                              )      Case No. 18-cv-8545
                                                )
THE PARTNERSHIPS and                            )      Judge: Hon. Andrea R. Wood
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A,”                     )      Magistrate: Hon. Susan E. Cox
                                                )
                                                )
                                                )


                                 SATISFACTION OF JUDGEMENT

           Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe        Store Name                                     Store ID
      2 BeadsMonster                                       A24U8QJGO4LR0C
       3    HatHat Ebt                                     A2GNGR04PS8OR1
       4    Irismaru                                       ANUPEK61YZNTT
       6    love & cute                                    A3HDI4SAU2O0L8
      39    best_story                                     54994973223ebf6960a84a9a
      67    dohia                                          5565db88382f8a19e85c1ee7
      69    dreamlife                                      53be59d3d9113970da2571ef
      82    faith808                                       57b17ed25de2f218cdf05076
      92    for8ward                                       57c7ea137cdb5a1c9f850da0
      98    globalsupermarket                              53b7a11838d30461f1f08b71
      99    goldenlion                                     57343861ef77745f5b9ea102
     106    happysky8                                      5473163e5f313f0449f83520
     218    shrco                                          598ab94223827079f1beb309
     240    thriving100                                    57c7cdefd6d8a749ce3af8ba
     245    torridity                                      5793228fba8cd234a7507a56
     311    belleworld                                     belleworld
     320    Ali-The World of Dresses Store                 3413026
     321    JETTINGJewelry Store                           2490087
     322    Garment&Accessories Store                      3866067
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  323   Woman Wardrobe Store                             712094
  324   MissJa Store                                     4047085
  325   Funny bag Store                                  3249044
  326   QIUWU Clothes Store                              3254053
  328   Corner met Store                                 3623068
  328   Corner met Store                                 3623068
  331   HWetR Jewellery Store                            3882022
  331   HWetR Jewellery Store                            3882022
  332   Sunny569448 Store                                3894006
  332   Sunny569448 Store                                3894006
  333   Ali-ladieswear Store                             3275029
  334   Playgirl Store                                   2781153
  340   CLJ Beside Store                                 2906136
  341   Ali-KvJJL Store                                  4279007



dismisses them from the suit without prejudice.

Dated this 12th Day of August, 2019.        Respectfully submitted,


                                            By:         s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record
                                                      Counsel for Plaintiff

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